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Supreme Court of California

JORGE E. NAVARRETE
Clerk and Executive Officer of the Supreme Court

CERTIFICATE OF THE CLERK OF THE SUPREME COURT

OF THE

STATE OF CALIFORNIA

SEAN TAHERI

I, JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
California, do hereby certify that SEAN TAHERI #293912, was on the 4th day of
December 2013, duly admitted to practice as an attorney and counselor at law in all the
courts of this state, and is now listed on the Roll of Attorneys as a member of the bar of

this state in good standing.

Witness my hand and the seal of the court
on the 22nd day of May 2024.

JORGE E. NAVARRETE
Clerk/Executive Officer of the Supreme Court

Michael Hallisy, Deputy oP

